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                           UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA

  SONY MUSIC ENTERTAINMENT, et al.,

                         Plaintiffs,
                                                    Case No. 1:18-cv-00950-LO-JFA
                 v.

  COX COMMUNICATIONS, INC., et al.,

                         Defendants.


                               [PROPOSED] PRETRIAL ORDER

        Before the Court is the parties’ consent motion for issuance of a pretrial order setting dates

 for an initial pretrial conference, discovery cutoff and final pretrial conference. Based on the par-

 ties’ joint submission, the Court finds that the motion should be granted. For the reasons stated in

 the parties’ joint motion, and for good cause shown, it is hereby

        ORDERED that discovery shall be completed no later than June 14, 2019 and the final

 pretrial conference is scheduled for June 21, 2018 at 10 a.m. It is further ORDERED that a Fed.

 R. Civ. P. 16(b) conference is set for December 5, 2018 at 11 a.m.



 ENTERED this _______ day of ___________________, 2018



 Alexandria, Virginia                                          __________________________
                                                               The Honorable Liam O’Grady
                                                               United States District Judge
                                                               Eastern District of Virginia
